






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00590-CR







Ex parte Christopher Lee Murray









FROM THE DISTRICT COURT OF BASTROP COUNTY, 21ST JUDICIAL DISTRICT


NO. 121900, HONORABLE REVA TOWSLEE CORBETT, JUDGE PRESIDING






D I S S E N T I N G   O P I N I O N



Although million-dollar bonds continue to invite appellate court scrutiny, even in
2008, the starting point of our review is the record that the defendant has the burden to develop.  On
the scant record before us here, I would hold that the district court did not abuse its discretion in
concluding that Mr. Murray did not meet his burden of proving excessive bail.  Accordingly, I
respectfully dissent.



				__________________________________________

				Bob Pemberton, Justice

Before Chief Justice Law, Justices Pemberton and Waldrop

Filed:   March 20, 2008

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